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IN THE SMALL CLAlMS DEPARTMENT oF F “_ED
CoWLlTZ COUNTY .DISTRICT cOURT
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City `,, State City State
?£’A\s 2 360 1- ?‘>’/- //‘¢"’S" ZZ§F/ ~
Zip Code Phone Zip Code Phone
CLAIM
\ /_` l l
061/ti 674 / / §§ /C/ / 5 7£ , Plaintiff', has appeared at the above entitled Court and
states that the above named De end nt(s) owes the Plaintiff the sum of $ §/£130 which
became due or owing on 13 ,QY//a § (date).

The amount owing is for;
Auto Damages Date of Accident
Back Rent

Wages _______ __

Rent Deposit ; Goods Sold

Property Darnage Other big S:l;¢.'{;~’.l£as\/ u-Jl¢>~‘{'.'e.»\ S 1" 712 Fld¢.
' /"l ”;;/ _ v-'v‘ eli -»\S '

Y'lrainlif`l` Signature / Title (i'f" filing on behalf of Pmi:nership, LLC, PLCC, Corporation)

 

 

Subsoribed and sworn to before me this 2 7 day of - m 20 /3 .

@a/\M

doer Clerk/Notary

State of Washington }
} ss:

Count ofCowlitz }
To: ©LD*M O\)€, S.QKMW ,Defendant(s). This claim for$ 5000 z has been

filed again§t you. You are required to deny this claim either in perso or in Writing. Your denial to the
claim must be received no later than 4:30 P.M. on l @"l l _

If your answer is that you do not owe all or part of the money that is claimed, the case Will be Set for hearing
at a later date. IF YOU FAIL TO APPEAR AND ANSWER THE CLAIM. A DEFAULT JUI}GMENT
WILL BE ENTERED AGAINS'I` YOU FOR THE AMOUN'I` OF THE CLAIM PLUS COUR'I`

COSTS.

The District Court is located on the second floor of the Hall of Justice, 312 SW First, Kelso, WA 98626.
Office hours are 8:30 A.M. to 5:00 P.M., Monday throu h Friday except legal holidays

Issued: \Q\Q:|] L§ Clerk: w

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